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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                              MDL No. 2323
INJURY LITIGATION
                                                        Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,                              Civ. Action No. 14-00029-AB
           Plaintiffs,

                v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
           Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


CO-LEAD CLASS COUNSELS’ PETITION FOR AN AWARD OF ATTORNEYS’ FEES,
 REIMBURSEMENT OF COSTS AND EXPENSES, ADOPTION OF A SET-ASIDE OF
 FIVE PERCENT OF EACH MONETARY AWARD AND DERIVATIVE CLAIMANT
 AWARD, AND CASE CONTRIBUTION AWARDS TO CLASS REPRESENTATIVES

       Co-Lead Class Counsel respectfully move, pursuant to Rule 23(h) of the Federal Rules of

Civil Procedure and Section 21.1 of the Class Action Settlement Agreement, as amended (ECF No.

6481-1) (“Settlement”) for the entry of an Order (i) awarding attorneys’ fees and reimbursement of

costs and litigation expenses for their work to date in this litigation; (ii) conferring upon Co-Lead

Counsel Christopher A. Seeger the responsibility and discretion to make the allocation of the

attorneys’ fees and costs and expenses award among those Plaintiffs’ Counsel seeking

compensation for common benefit work and common benefit costs and expenses incurred; (iii)
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adopting a set-aside of five percent of each Monetary Award and Derivative Claimant Award

under the Settlement, for the purpose of reimbursing counsel for future common benefit work

and expenses in connection with implementation of the Settlement; and (iv) making case

contribution (or incentive or service) awards to the three representatives of the settlement Class

(or, where appropriate, to their estates) for their invaluable contributions in connection with the

achievement of the Settlement.

       The reasons supporting these requests are fully set forth in the accompanying memorandum

of law and the Declaration of Christopher A. Seeger, dated February 13, 2017, and exhibits thereto.

A proposed Order is submitted herewith.

Dated: February 13, 2017

                                                            Respectfully submitted,

                                                            s/ Christopher A. Seeger
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record via the
Court’s ECF system on February 13, 2017.




                                                           s/ Christopher A. Seeger
                                                           Christopher A. Seeger
